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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


BUZZFEED, INC. and BEN SMITH,

                            Plaintiffs,

                  v.
                                            Case No. 1:17-mc-02429-APM
U.S. DEPARTMENT OF JUSTICE, FEDERAL
BUREAU OF INVESTIGATION, OFFICE OF
THE DIRECTOR OF NATIONAL
INTELLIGENCE, JAMES COMEY, and JAMES
CLAPPER,

                           Defendants.




     DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE
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       On December 4, 2017, Plaintiffs BuzzFeed, Inc. and Ben Smith (hereinafter, collectively,

“Buzzfeed”) moved to strike Defendants’ ex parte, in camera declaration, submitted in support of

their contention that the testimony Buzzfeed seeks to compel from Government Respondents is

protected by the law enforcement investigatory privilege. Because the Government provided two

additional, independent grounds for denying Buzzfeed’s motion to compel – viz., that the

testimony Buzzfeed seeks to compel does not satisfy the relevancy requirement for civil discovery,

and that the testimony sought would impose an undue burden on the Government Respondents –

the Court need not decide Buzzfeed’s motion to strike in order to adjudicate this miscellaneous

action. Indeed, resolution of that motion would be obviated by the Court’s consideration of those

grounds first.

       Alternatively, the Court should deny Buzzfeed’s motion to strike, which is predicated

primarily on the Government’s failure to seek leave before filing the subject declaration. The

Government’s submission of this declaration was proper under the local rules and appropriate in

light of its assertion of the law enforcement investigatory privilege. The D.C. Circuit has long

held that ex parte, in camera submissions are appropriate where the harm of disclosing

Government information outweighs the general principle of an open adversary process. The Court

therefore should reject Buzzfeed’s attempt to force the Government to reveal law enforcement

sensitive information simply because Buzzfeed disagrees with how the information was submitted

to the Court.

                                       BACKGROUND

       On September 27, 2017, Buzzfeed initiated a miscellaneous action in this Court, seeking

to compel third-party testimony from the Government Respondents on nine enumerated topics.




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See Mot. to Compel, at 12-13, ECF No. 1. 1 This testimony, Buzzfeed contends, is relevant to two

of the defenses it has raised in a private defamation action filed against it in Florida. See Gubarev

v. BuzzFeed, Inc., No. 17-cv-60426 (S.D. Fla.) (hereinafter “Florida litigation”). The Florida

litigation arises out of an article Buzzfeed posted on its website on January 10, 2017. See Ken

Bensinger, et al., These Reports Allege Trump Has Deep Ties to Russia, BuzzFeed (Jan. 10, 2017),

https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-has-deep-ties-to-russia?utm

_term=.cczPnqJpb#.de5LYnVqB (hereinafter “Article”) (last visited Dec. 15, 2017). The Article

contained an embedded, 35-page document that Buzzfeed calls “the Dossier” which, in turn,

contained statements that plaintiffs in the Florida litigation allege are defamatory. See ECF No.

1-3, Ex. 1 (“Florida Complaint”) ¶¶ 25-28.

       Buzzfeed originally served seven third-party subpoenas on various intelligence agencies

and officials: the Department of Justice (“DOJ”), the Federal Bureau of Investigation (“FBI”), the

Office of the Director of National Intelligence (“ODNI”), former FBI Director James Comey,

former DNI James Clapper, the Central Intelligence Agency (“CIA”), and former CIA Director

John Brennan. These subpoenas, which each sought ten categories of records, as well as testimony

on a variety of topics, were treated as Touhy requests by the Government Respondents, because

none of the subpoenaed entities is a party in the Florida litigation. See generally United States ex

rel. Touhy v. Ragen, 340 U.S. 462 (1951); see also, e.g., 28 C.F.R. §§ 16.21-16.29 (DOJ Touhy

regulations).   Pursuant to their Touhy regulations, all Government Respondents denied the

requests. See Defendants’ Opp. to Mot. to Compel (“Gov’t Opp.”), at 5-6, ECF No. 8. Buzzfeed




       1
       A more detailed description of the background in this case can be found in the
Government’s opposition to Buzzfeed’s motion to compel. See Gov’t Opp. at 2-8.
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later met with undersigned counsel for the Government in an attempt to narrow its Touhy requests,

but the Respondent agencies denied the narrowed requests. See id. at 6.

       Buzzfeed subsequently filed a miscellaneous action in this Court, and an accompanying

motion to compel. On November 13, 2017, the Government filed an opposition to Buzzfeed’s

motion to compel, identifying three independent and sufficient grounds for denying Buzzfeed’s

motion: (1) the testimony sought in Buzzfeed’s motion to compel is not relevant to the Florida

litigation; (2) the testimony sought would impose an undue burden on the Government

Respondents; and (3) the testimony sought is protected by the law enforcement investigatory

privilege. See id. at 12-37. As relevant here, the Government also submitted an ex parte

declaration, for the Court’s in camera review, for the limited purpose of supporting argument (3).

See Defs.’ Notice of Filing of Ex Parte Declaration, ECF No. 8-1; Gov’t Opp. at 32 n.13

(explaining in camera submission and labeling it “FBI Decl[aration]”).

       Three weeks later, on December 4, 2017, Buzzfeed moved to strike the Government’s ex

parte, in camera declaration. See Mot. to Strike, ECF No. 11. 2 In its motion, Buzzfeed contends

that the Court should “strike the FBI Declaration in its entirety pursuant to Fed. R. Civ. P. 12(f)”

because the Government ought to have sought leave of Court before submitting the declaration,

and because ex parte, in camera submissions are disfavored. See Mot. to Strike at 2-6. In the

alternative, Buzzfeed asks this Court to order the Government to file a redacted version of the ex

parte declaration on the public docket. Id. at 2.




       2
          Counsel for Buzzfeed contacted undersigned counsel for the Government on the morning
of December 4, 2017, requesting an extension of time and a further conference with Defendants.
Undersigned counsel explained that Buzzfeed had provided insufficient time to consult with her
clients and so Buzzfeed filed the instant motion later that same day.
                                                    3
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                                           ARGUMENT

         “Rule 12(f) of the Federal Rules of Civil Procedure permits a court to ‘order stricken from

any pleading any insufficient defense or any redundant, immaterial, impertinent, or scandalous

matter.’” Wiggins v. Philip Morris, Inc., 853 F. Supp. 457, 457 (D.D.C. 1994) (quoting Fed. R.

Civ. P. 12(f)). Under this Rule, “[i]mmaterial and impertinent matter is matter that is not materially

relevant to any pleaded claim for relief or defense.” Makuch v. FBI, No. 99-cv-1094, 2000 WL

915767, at *2 (D.D.C. Jan. 7, 2000). “It is settled in this jurisdiction that the term ‘pleading’ for

the purposes of Rule 12(f) includes affidavits and declarations filed in support of technical

pleadings . . . .” Judicial Watch, Inc. v. U.S. Dep’t of Commerce, 224 F.R.D. 261, 263 n.1 (D.D.C.

2004).

         “[M]otions to strike, as a general rule, are disfavored.” Stabilisierungsfonds Fur Wein v.

Kaiser Stuhl Wine Distributors Pty. Ltd., 647 F.2d 200, 201 (D.C. Cir. 1981) (citing 5 C. Wright

& A. Miller, FEDERAL PRACTICE AND PROCEDURE § 1380, at 783 (1969) (explaining that motions

to strike under Fed. R. Civ. P. 12(f) “are viewed with disfavor and are infrequently granted”)); see

also United States ex rel. Landis v. Tailwind Sports Corp., 308 F.R.D. 1, 4 (D.D.C. 2015) (“The

decision to grant or deny a motion to strike is vested in the trial judge’s sound discretion . . .

[h]owever, a motion to strike is a drastic remedy that courts disfavor.” (citations omitted)

(alterations in original)).

         Rule 12(f) “does not by its terms require the striking of matters that are prejudicial. Yet,

because courts view motions to strike with such disfavor, many courts will grant such motions

only if the portions sought to be stricken are prejudicial or scandalous.” Nwachukwu v. Karl, 216

F.R.D. 176, 178 (D.D.C. 2003). Furthermore, “[i]n considering a motion to strike, the court will

. . . resolve all doubts in favor of denying the motion to strike. Consequently, the burden lies with


                                                  4
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the movant.” Id. In short, “absent a ‘strong reason for so doing,’ courts will generally ‘not

tamper’” with the parties’ submissions. Id. (quoting Lipsky v. Commonwealth United Corp., 551

F.2d 887, 893 (2d Cir. 1976)).

I.     The Court Need Not Resolve Buzzfeed’s Motion to Strike.

       As an initial matter, the Court should defer ruling on the instant motion pending resolution

of Buzzfeed’s fully briefed motion to compel, 3 because the Government opposed that motion to

compel on three separate and independent grounds—the following two of which did not rely at all

on the FBI declaration: (1) the testimony Buzzfeed seeks to compel does not satisfy the relevancy

requirement of Federal Rule of Civil Procedure 26, see Gov’t Opp. at 12-22; and (2) the testimony

Buzzfeed seeks would impose an undue burden on the Government Respondents, see id. at 23-31,

and therefore the considerations set forth in Federal Rule of Civil Procedure 26(b)(1)-(2) militate

against compelling that testimony. Either of these grounds is dispositive of this miscellaneous

action. Thus, because “motions to strike, as a general rule, are disfavored,” Stabilisierungsfonds

Fur Wein, 647 F.2d at 201, the Court should exercise its discretion, see, e.g., Tailwind Sports

Corp., 308 F.R.D. at 4, and defer ruling on Buzzfeed’s motion to strike pending the determination

of whether this action should be resolved on either of the two other grounds asserted in the

Government’s opposition to the motion to compel.

II.    The Court Alternatively Should Deny Buzzfeed’s Motion to Strike.

       A.      The Government is not required to seek leave to file an ex parte declaration
               for in camera review.

       No D.C. Circuit authority, Federal Rule of Civil Procedure, statute, or Local Civil Rule

requires the Government to seek permission from or provide prior notice to Plaintiffs or the Court


       3
        Buzzfeed’s reply in support of its motion to compel is due today, December 18, 2017.
See Minute Order of Dec. 8, 2017. By operation of Local Rule 7(d) and Federal Rule of Civil
Procedure 6, Buzzfeed’s reply in support of its motion to strike is not due until December 26, 2017.
                                                 5
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before submitting an ex parte, in camera declaration. 4 See, e.g., Life Extension Found., Inc. v.

IRS, 915 F. Supp. 2d 174, 185-86 (D.D.C. 2013) (considering in camera declarations after

defendant filed notice of lodging, see ECF No. 12, but did not request leave to file the declaration

ex parte), aff’d 559 Fed. App’x 3 (D.C. Cir. Apr. 25, 2014) (reviewing in camera declarations and

finding that agency properly invoked statutory law-enforcement exemptions where “in camera

declarations provide additional details explaining why the IRS has not described any investigation

or informant information in [] greater detail in its public submissions”); see also Mobley v. CIA,

806 F.3d 568, 588 (D.C. Cir. 2015) (affirming conclusions that district court reached after

considering ex parte, in camera declaration of FBI, which FBI lodged without requesting leave to

file); Mobley v. CIA, No. 11-cv-2073 (D.D.C.), ECF No. 26 (June 29, 2012) (notice of ex parte, in

camera filing by FBI).

       Buzzfeed asserts that Local Rule 5.1(h), which requires that “[a] document filed with the

intention of it being sealed . . . shall be accompanied by a motion to seal,” applies to in camera

submissions, as well. See LCvR 5.1(h). Yet Buzzfeed does not identify a single decision of a

court in this district that has interpreted Rule 5.1(h) in that manner, and the plain language of the

Rule states that it governs only “sealed or confidential documents.” Id. Even Buzzfeed concedes

that sealed documents and ex parte, in camera submissions are qualitatively different, see Mot. to




       4
          The Government does occasionally seek leave to file an ex parte, in camera declaration
before doing so; however, the decision to request permission in some instances does not thereby
require the Government to seek advance leave to file ex parte, in camera submissions in all
instances. See, e.g., Leopold v. Dep’t of Justice, No. 16-cv-1827 (D.D.C.), Request for Leave to
File Ex Parte, In Camera Declaration, ¶ 9, ECF No. 17 (“No D.C. Circuit authority or Local Civil
Rule requires Defendants to seek permission from . . . the Court before submitting an ex parte, in
camera declaration. . . . As a courtesy and out of an abundance of caution, however, Defendants
are filing this motion.”). In granting the Government’s motion for leave to file an ex parte
declaration in Leopold, the court did not disagree with the Government’s assertion that it was not
required to file such a motion.
                                                 6
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Strike at 3 n.4; accordingly, the acceptance of ex parte, in camera submissions is left to the

discretion of the court. As the D.C. Circuit has explained, “the receipt of in camera . . . affidavits

. . . when necessary . . . [is] part of a trial judge’s procedural arsenal.” Arieff v. Dep’t of Navy, 712

F.2d 1462, 1469 (D.C. Cir. 1983) (citation omitted); see also, e.g., Hayden v. NSA, 608 F.2d 1381,

1388 (D.C. Cir. 1979) (noting that an affidavit submitted for in camera review “spells out . . . with

greater specificity” the information provided by the Government on the public docket); Campbell

v. Dep’t of Health & Human Servs., 682 F.2d 256, 265 (D.C. Cir. 1982) (suggesting that, on

remand, the district court could accept in camera submissions to support law enforcement

exemptions to Freedom of Information Act).

        Even if this Court did prefer that the Government first seek leave to file an ex parte

declaration, the appropriate remedy would not be to strike the declaration altogether. Rather, the

Court would mandate that the Government justify submitting the ex parte declaration. Yet because

this opposition to Buzzfeed’s motion to strike serves exactly that function, there is no prejudice to

Buzzfeed and nothing “redundant, immaterial, impertinent, or scandalous” about the ex parte

submission of the affidavit for in camera review. 5 Fed. R. Civ. P. 12(f). In fact, Buzzfeed suggests

that the Government erred simply by selecting an “[im]proper vehicle” for its justification for the

ex parte submission—that is, by locating that justification in a footnote in the Government’s brief

rather than a request filed concurrently therewith. Mot. to Strike at 3. In other words, Buzzfeed’s

objection elevates form over substance and does not warrant striking the FBI declaration, a “drastic

remedy that courts disfavor.”       Tailwind Sports Corp., 308 F.R.D. at 4 (citation omitted).



        5
          Nor is there any merit to Buzzfeed’s suggestion that the Government’s filing of the FBI
Declaration without requesting leave to do so deprived Buzzfeed of “the opportunity to contest the
basis for its submission in this manner.” Mot. to Strike at 2. Buzzfeed could have challenged the
Government’s rationale for its in camera submission in its reply brief in support of its motion to
compel or—as it chose to do here—in a separate Rule 12(f) motion.
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Alternatively, the Court should treat this opposition to Buzzfeed’s motion to strike as a nunc pro

tunc request for leave to file an ex parte declaration for the Court’s in camera review.

       B.      The Government’s submission of an ex parte declaration in support of its
               assertion of the law enforcement investigatory privilege was appropriate.

       While ex parte, in camera submissions as a general matter are disfavored, they are fairly

common – and, indeed, crucial – in the context of intelligence-gathering, national security, and

law enforcement. As the D.C. Circuit has explained, when national security is at issue, “in camera

review of affidavits, followed if necessary by further judicial inquiry, will be the norm.” Stillman

v. CIA, 319 F.3d 546, 548 (D.C. Cir. 2003) (citation omitted). Because courts are “[m]indful that

it is bad law and bad policy to second-guess the predictive judgments made by the government’s

intelligence agencies,” these affidavits often provide a critical opportunity for the Government to

describe the impact of disclosure on intelligence-gathering or ongoing investigative activities. Am.

Civil Liberties Union v. Office of the Dir. of Nat’l Intelligence, No. 10-cv-4419, 2011 WL

5563520, at *13 (S.D.N.Y. Nov. 15, 2011) (citation omitted). Ex parte, in camera submissions

allow the Government to demonstrate that “[t]he present case is one example where some of the

interests of the adversary process are outweighed by the nation’s legitimate interests in secrecy

and orderly process for disclosure.” Hayden, 608 F.2d at 1385.

       Further, as the Government noted in its opposition to Buzzfeed’s motion to compel, see

Gov’t Opp. at 32 n.13, courts routinely rely on ex parte, in camera materials when determining

whether a privilege has been properly asserted and bars disclosure. See, e.g., Alexander v. FBI,

186 F.R.D. 154, 169 (D.D.C. 1999) (explaining that in camera, ex parte hearing was required to

determine whether law enforcement investigatory privilege applied). The D.C. Circuit has, in fact,

upheld the use of ex parte, in camera submissions to support claims of privilege applying to

information sought under a third-party subpoena. In Linder v. Dep’t of Defense, 133 F.3d 17 (D.C.

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Cir. 1998), the Court of Appeals determined that the district court appropriately accepted CIA’s

claims of statutory privilege with respect to various documents sought under a third-party

subpoena, and it specifically noted that “the district court relied on very detailed information

contained in the ex parte declaration” of an agency official who “explain[ed] the potential harms

to national security from the disclosure of intelligence sources, intelligence methods, . . . CIA

employee names and organizational data, and cryptonyms and pseudonyms.” Id. at 25. “Because

judges ‘have little or no background in the delicate business of intelligence gathering,’” the Linder

court explained, “courts must give ‘great deference’” to an intelligence agency or official’s

determination that disclosure of particular information “could reveal intelligence sources and

methods and endanger national security.” Id. (quoting CIA v. Sims, 471 U.S. 159, 176 (1985)).

       Outside the context of the law-enforcement privilege, actions arising under the Freedom of

Information Act (“FOIA”) and involving FOIA’s Exemption 7 – which protects from disclosure

certain law-enforcement information – are also instructive for this case. In those cases, to

demonstrate that information is properly withheld under Exemption 7, the agency must show that

disclosure could reasonably be expected to interfere with law-enforcement proceedings. See 5

U.S.C. § 552(b)(7)(A). However, the agency often cannot fully articulate the harm that could

reasonably be expected to result if the information is disclosed without revealing the very

investigative information that the agency seeks to protect. See, e.g., Hayden, 608 F.2d at 1385;

Campbell, 682 F.2d at 265; Barnard v. Dep’t of Homeland Sec., 598 F. Supp. 2d 1, 16 (D.D.C.

2009) (“[W]here, as here, an agency indicates that no additional information concerning an

investigation may be publicly disclosed without revealing precisely the information that the agency

seeks to withhold, the receipt of in camera declarations is appropriate.”). Recently, another court

in this district relied on ex parte, in camera declarations, even when “[t]he detailed facts that



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underpin the government’s decision to withhold . . . responsive records are revealed only in the

classified declarations that DOJ has provided to this Court—which, admittedly, puts [plaintiff] at

a distinct disadvantage with respect to its argument that the withheld information should be

released.” Elec. Privacy Info. Ctr. v. DOJ, -- F. Supp. 3d --, 2017 WL 5176309, at *6 (D.D.C.

Nov. 7, 2017). The Court explained that relying on those in camera declarations nevertheless was

appropriate “when there is a reasonable risk ‘that public itemization and detailed justification

would compromise legitimate secrecy interests’” of the Government. Id. (quoting Hayden, 608

F.2d at 1385).

       Further, as the Government pointed out in its opposition, other courts in this district

recently have permitted the Government to submit ex parte, in camera declarations to justify their

withholding of records under the FOIA related to the FBI’s investigation of Russian interference

in the 2016 Presidential Election. See, e.g., Leopold v. Dep’t of Treasury, No. 16-cv-1827

(D.D.C.), Aug. 1, 2017 Order, at 3, ECF No. 20 (explaining that “the receipt of in camera

declarations is appropriate” where “a law enforcement agency indicates that no additional

information concerning an ongoing investigation may be publicly disclosed without revealing

precisely the information that the agency is entitled to withhold”; agreeing that in camera

inspection is necessary to prevent interference with an ongoing investigation; and noting that

“revealing more about the redacted information on the public record would disclose the very

information that Defendants seek to withhold.”). 6 According to Buzzfeed, the testimony it seeks




       6
          Although the Government requested leave to file an unredacted version of their
declaration with the court in Leopold, Judge Ketanji Brown Jackson did not suggest that the
Government defendants were required to do so in that or any other case. The same is true of the
other cases Buzzfeed points to in which courts relied on ex parte, in camera submissions after the
Government sought leave to file them, see Mot. to Strike at 2 n.3; notwithstanding the
Government’s decision to request permission for an in camera submission in those cases, none of
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in its motion to compel “lies at the core of the public controversy regarding Russian interference

in the Presidential election and [the] alleged collusion with the Trump campaign . . . including . . .

the appointment of Special Counsel Robert Mueller.” Mot. to Compel at 20. By Buzzfeed’s own

admission, then, this miscellaneous action implicates the same law-enforcement concerns that

prompted the court in Leopold to accept ex parte, in camera submissions. 7

        By contrast, the case Buzzfeed cites in which a court denied a request for leave to file an

ex parte, in camera affidavit involved a private defendant seeking to shield information from the

public and a government agency—the converse of the situation here. See FTC v. Boehringer

Ingelheim Pharm., Inc., 180 F. Supp. 3d 1, 22 (D.D.C. 2016). There, the court explained that it

was denying the defendant-corporation’s “motion for leave to file [an] ex parte affidavit because

. . . the business interests implicated in the instant dispute fall well short of the types of interests

that appropriately deserve ex parte treatment—i.e., national security and grand jury matters.” Id.

However, the protection of law-enforcement-sensitive information, the disclosure of which could

interfere with an ongoing law enforcement investigation, is “on par with national security or grand

jury secrecy” and therefore outweighs the general “public interest in open, adversarial

proceedings.” Id. Thus, while a court should consider an ex parte, in camera affidavit “only where



those courts held or otherwise indicated that the Government must do so before an in camera
submission.
        Moreover, it is of no moment that the Leopold court highlighted the Government’s filing
of a redacted version of its ex parte submission on the public docket because some in camera
submissions are not amenable to the filing of public, redacted versions—because the non-sensitive
portions are already publicly available or are very minor. Buzzfeed simply assumes that the
Government has not attempted to make publicly available as much information as is appropriate;
that assumption is unfounded.
        7 Buzzfeed argues that there is a distinction between in camera review of documents

withheld pursuant to an evidentiary privilege and reliance on an in camera submission for the
assertion of that privilege in the first instance. See Mot. to Strike at 4. In this case, however,
Buzzfeed has moved to compel only testimony, so there are no relevant records for the Government
to submit for in camera review, making that distinction irrelevant here.
                                                  11
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absolutely necessary,” that “necessity exists when . . . the validity of the government’s assertion

of exemption” – or, in this case, privilege – “cannot be evaluated without information beyond that

contained in the public” filings, and when “public disclosure of that information would

compromise the secrecy asserted.” Arieff, 712 F.2d at 1471 (citations omitted).

       C.      The Government’s Ex Parte Declaration Does Not Prejudice Buzzfeed.

       In addition to being appropriate in the context of this case and in response to this motion

to compel, the submission of the FBI Declaration has not prejudiced Buzzfeed. The Government

submitted a completely unredacted brief in opposition to the motion to compel on the public

docket, precisely so that its substantive argument as to the law enforcement investigatory privilege

would be clear to Buzzfeed. The FBI Declaration simply supplies factual support for the

Government’s assertion that the testimony Buzzfeed seeks in its motion to compel involves

information whose disclosure could reasonably be expected to interfere with a law enforcement

investigation. 8 See Gov’t Opp. at 31-37. The FBI Declaration is cited a mere seven times, on five

pages of a thirty-seven-page opposition brief. Id. at 33-37. Its role in the Government’s opposition

is therefore limited, though essential.

       Moreover, while a court must create “as complete a public record as is possible,” there is

no need for the Government to release a redacted version of an in camera declaration when doing



       8  For this reason, this is not the sort of declaration that is typically vulnerable to a motion
to strike under Rule 12(f), for the information contained within it merely provides factual support
for the Government’s assertion of privilege; the declaration is neither redundant nor lacking in
foundation. Cf. LaRouche v. Dep’t of Treasury, No. 91-cv-1655, 2000 WL 805214, at *15 (D.D.C.
Mar. 31, 2000) (striking declaration submitted in support of plaintiff’s motion for summary
judgment in a FOIA action as “violative of Rule 12(f)’s prohibition on ‘redundant’ matter” because
it “repeats information already contained in” plaintiff’s motion and because “[t]he bulk of the . . .
declaration is hearsay”); Johnson v. U.S. Capitol Police Bd., No. 03-cv-614, 2005 WL 486743, at
*2-3 (D.D.C. Mar. 2, 2005) (striking one declaration as irrelevant because declarant did not have
relevant first-hand knowledge but denying motion to strike second declaration because declarant
did have first-hand knowledge of relevant facts).
                                                  12
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so would “merely duplicate[] material already in the public record.” Hayden, 608 F.2d at 1385,

1389. In this case, the only information the Government could release in an unredacted form from

the FBI Declaration – because that information is not law-enforcement-sensitive – is information

that is already publicly available and therefore information to which Buzzfeed has access.

Therefore, nothing would be gained were this Court to order the Government to file a redacted

version of its ex parte, in camera declaration on the public docket.

       Finally, Buzzfeed clearly can respond fully to the Government’s assertion of privilege

without viewing the FBI declaration; indeed, the fact that Buzzfeed has not, as of this filing, sought

an extension for its reply in support of its motion to compel pending the Court’s decision on its

motion to strike – and therefore will be filing that reply today – belies any claim of prejudice.

                                          CONCLUSION

       For the foregoing reasons, the Government respectfully submits that this Court should defer

ruling on Plaintiffs’ motion to strike or, in the alternative, deny the motion.


                                       Respectfully submitted this 18th day of December, 2017,

                                       CHAD A. READLER
                                       Acting Assistant Attorney General

                                       JACQUELINE COLEMAN SNEAD
                                       Assistant Branch Director

                                       /s/ Anjali Motgi      _____________           _
                                       ANJALI MOTGI (TX Bar # 24092864)
                                       Trial Attorney
                                       United States Department of Justice
                                       Civil Division, Federal Programs Branch
                                       20 Massachusetts Avenue, N.W.
                                       Washington, D.C. 20530
                                       (202) 305-0879 (tel.)
                                       (202) 616-8470 (fax)
                                       anjali.motgi@usdoj.gov



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